
HOUSTON, Justice
(dissenting).
I would dismiss for failure to comply with Rule 39(c)(4), A.R.App.P. Ex parte State ex rel. Attorney General, 285 Ala. 72, 229 So.2d 27 (1969), modified in part by Harvey v. Thompson, 286 Ala. 614, 243 So.2d 748 (1971). However, even if I overlooked form for substance, I would quash the writ as having been improvidently granted, for there is legal evidence — ample legal evidence — to support the trial court’s *596determination of the facts, which the Alabama Court of Civil Appeals clearly recognized as our appellate standard of review in workmen’s compensation cases, Grantham v. Amoco Fabrics Co., 514 So.2d 1383 (Ala. Civ.App.1986), aff’d, 514 So.2d 1385 (Ala.1987); and the correct law was applied to those facts, Slimfold Manufacturing Co. v. Martin, 417 So.2d 199 (Ala.Civ.App.1981), cert. quashed, 417 So.2d 203 (Ala.1982).
Therefore, I dissent.
MADDOX, J., concurs.
